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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                              §
    In re:                                                    §   Chapter 11
                                                              §
    Hi-Crush Inc., et al.,                                    §   Case No. 20-33495 (DRJ)
                                                              §
                    Debtors.1                                 §   (Jointly Administered)
                                                              §
                                                              §
    Hi-Crush Permian Sand LLC,                                §
                                                              §
                    Plaintiff,                                §
    v.                                                        §   Adversary No. __________
                                                              §
    EOG Resources, Inc.,                                      §
                                                              §
                    Defendant.                                §
                                                              §

                  HI-CRUSH PERMIAN SAND LLC’S ORIGINAL COMPLAINT

             Hi-Crush Permian Sand LLC, a reorganized debtor in the above-captioned bankruptcy

proceedings and plaintiff in this adversary proceeding (“Hi-Crush” or the “Debtor”) files this

Original Complaint against EOG Resources, Inc. (“EOG”), respectfully stating as follows:

                                       NATURE OF THE ACTION

             1.    Hi-Crush brings this action to prevent EOG from shirking its contractual

obligations and to protect Hi-Crush from losing no less than $                          as a result of EOG’s

invalid contract termination and refusal to perform.



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    The reorganized debtors in the bankruptcy cases, along with the last four digits of each Debtor’s federal tax
    identification number, are: Hi-Crush Inc. (0530), OnCore Processing LLC (9403), Hi-Crush Augusta LLC (0668),
    Hi-Crush Whitehall LLC (5562), PDQ Properties LLC (9169), Hi-Crush Wyeville Operating LLC (5797), D & I
    Silica, LLC (9957), Hi-Crush Blair LLC (7094), Hi-Crush LMS LLC, Hi-Crush Investments Inc. (6547), Hi-Crush
    Permian Sand LLC, Hi-Crush Proppants LLC (0770), Hi-Crush PODS LLC, Hi-Crush Canada Inc. (9195), Hi-
    Crush Holdings LLC, Hi-Crush Services LLC (6206), BulkTracer Holdings LLC (4085), Pronghorn Logistics
    Holdings, LLC (5223), FB Industries USA Inc. (8208), PropDispatch LLC, Pronghorn Logistics, LLC (4547), and
    FB Logistics, LLC (8641). The Debtors’ address is 1330 Post Oak Blvd, Suite 600, Houston, Texas 77056.



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           2.       Hi-Crush seeks declaratory relief and damages because EOG unjustifiably

attempted to terminate the long-term Sand Purchase Agreement (defined below) between Hi-Crush

and EOG (the “Parties”). Specifically, EOG sought to take advantage of Hi-Crush Inc.’s2 June

2020 disclosure that Hi-Crush Inc. had defaulted on a financial covenant in its ABL Credit

Facility, which could potentially trigger the acceleration of certain debt and note obligations. Hi-

Crush Inc. also disclosed, however, that it and certain affiliates had entered into a forbearance

agreement with its ABL lenders, which forestalled the acceleration of its debt and note obligations.

Ignoring the obvious effect of the forbearance agreement, EOG promptly sought to terminate the

Sand Purchase Agreement under an early termination clause premised on Hi-Crush’s

“insolvency.” EOG took the meritless position that Hi-Crush was insolvent even though nothing

in the disclosure stated that Hi-Crush was insolvent or unable to pay its debts as they fell due.

           3.       EOG’s actions were a blatant attempt to avoid its firm obligation to purchase

significant quantities of sand annually from Hi-Crush at a fixed price (or make specified shortfall

payments if it failed to do so). Hi-Crush quickly rejected EOG’s purported notice of termination

and demanded that EOG perform. But EOG remained entrenched.

           4.       EOG has refused to perform its purchase obligations not only for this year, but for

the remaining            years to come. Additionally, EOG has refused to pay Hi-Crush the shortfall

amounts owed under the agreement for EOG’s failure to purchase requisite quantities of sand this

year. Because of EOG’s blatant breaches, Hi-Crush will sustain millions in damages, which will

continue to grow if EOG does not resume performance. Accordingly, and in addition to monetary

damages for this current year in the amount of $                   , Hi-Crush seeks (i) a declaratory

judgment that the Sand Purchase Agreement remains in effect, (ii) a declaratory judgment that Hi-



2
    Hi-Crush Inc. is the parent company of Hi-Crush.

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Crush properly assumed the Sand Purchase Agreement under 11 U.S.C. § 365, and (iii) an order

requiring EOG’s specific performance of its contractual obligations. In the alternative to specific

performance, Hi-Crush requests additional damages for the remainder of the agreement’s term,

which amount to no less than $             .

                                 JURISDICTION AND VENUE

        5.      On July 12, 2020, Hi-Crush Inc. and certain of its affiliates, including Hi-Crush

Permian Sand LLC, filed voluntary petitions for relief under chapter 11 of Title 11 of the United

States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern

District of Texas (the “Court” or “Bankruptcy Court”).

        6.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). This

adversary proceeding is commenced pursuant to (i) Bankruptcy Rules 7001(1), 7001(2), 7001(9),

(ii) section 105(a) and 365 of the Bankruptcy Code, and (iii) 28 U.S.C. § 2201.

        7.      Pursuant to Federal Rule of Bankruptcy Procedure 7008 and Bankruptcy Local

Rule 7008-1, the Debtor consents to the entry of final orders or judgments by this Court if it is

determined that this Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

        8.      The Court has personal jurisdiction over EOG because the actions giving rise to

this adversary proceeding occurred in Texas and because EOG has its principal place of business

in Texas.

        9.      Venue is proper before the Court pursuant to 28 U.S.C. §§ 1391(b), 1408 and 1409.

                                               PARTIES

        10.     The Debtor is a Delaware limited liability company having its principal place of



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business at 1330 Post Oak Boulevard, Suite 600, Houston, Texas 77056.

          11.      Defendant EOG is a corporation organized under the laws of the State of Delaware

and registered to do business in the State of Texas, with its principal place of business located at

1111 Bagby Street, Sky Lobby 2, Houston, Texas 77002. Defendant may be served with process

under Bankruptcy Rule 7004(b) through its registered agent, CT Corporation System, 1999 Bryan

Street, Suite 900, Dallas, Texas 75201.

                                        FACTUAL BACKGROUND

          12.      Hi-Crush Inc. and its affiliates, including Hi-Crush, are a leading supplier of

premium proppant (also known as “frac sand”), used in hydraulic fracturing of oil and gas wells,

and logistics services to exploration and production companies, service companies, and pressure

pumping companies. They own and operate six sand production facilities, with four in Wisconsin

and two in West Texas. These facilities, coupled with Hi-Crush Inc.’s world-class processing

technology and systems, allow Hi-Crush Inc. and its affiliates to provide high-quality proppant to

their customers with preferred delivery to all major U.S. shale basins. EOG is one of those

customers.

          13.      EOG is engaged in the exploration and production of hydrocarbons with assets both

abroad and in the United States, including in the Permian Basin of West Texas. Upon information

and belief, EOG utilizes frac sand during the process of drilling and completing unconventional

oil and gas wells.

          14.      On February 13, 2017, Hi-Crush3 and EOG entered into a Sand Purchase

Agreement, which was amended effective June 1, 2018 (“Sand Purchase Agreement”) (attached


3
    The original party to the Sand Purchase Agreement was Permian Basin Sand Company, LLC, which was later
    acquired by Hi-Crush. In the Parties’ June 1, 2018 First Amendment to the Sand Purchase Agreement, they agreed
    that all references to “Permian Basin Sand Company LLC” throughout the Sand Purchase Agreement shall be
    replaced by “Hi-Crush Permian Sand LLC” and all references to “PBS” throughout the Sand Purchase Agreement

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hereto as Exhibit 1), and governed by Texas law. Sand Purchase Agreement, ¶ 10. Upon

information and belief, EOG entered into the Sand Purchase Agreement in order to obtain a

reliable, long-term supply of premium frac sand at fixed prices.

      A. Terms of the Sand Purchase Agreement

         15.     Under the Sand Purchase Agreement, EOG is required to purchase a minimum

amount of                                 tons of sand per Contract Year (“Annual Minimum”) at a

purchase price of $          per ton. Sand Purchase Agreement, ¶¶ 1(a), 2(a)(i). A “Contract Year”

is any one calendar year beginning on January 1 and ending on December 31, with the term of the

agreement lasting until at least                            . Id. ¶¶ 1(h)(i), (3)(a). As of now, that term,

referred to as the “Primary Term,” has neither been extended nor shortened. Id. ¶ 3(a).

         16.     The Sand Purchase Agreement is akin to a “take or pay” agreement. Should EOG

fail to purchase and take delivery of the Annual Minimum during any Contract Year, the Sand

Purchase Agreement obligates EOG to make annual shortfall payments to Hi-Crush. See id. ¶ 2(b).

These shortfall payments are calculated based on a contractually-agreed upon formula of




        Id. ¶ 2(b). For further clarity, the Sand Purchase Agreement provides an example of

applying that formula:



Id.




  shall be replaced by “Hi-Crush.” First Amendment to Sand Purchase Agreement (included with Exhibit 1), Section
  1.01.


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        17.     Although the term of the Sand Purchase Agreement extends through                     , the

agreement contains certain early termination provisions, but only in the event particular events

occur or certain accelerated shortfall payments are made. See, e.g., id. ¶¶ 3(b), 7(b). In an apparent

attempt to avoid making any shortfall payments upon termination, EOG purportedly terminated

the Sand Purchase Agreement under Section 7(b), which provides as follows:

                In the event either Party shall (i) make an assignment or any general
                arrangement for the benefit of creditors; (ii) file a petition or
                otherwise commence, authorize, or acquiesce in the commencement
                of a proceeding or case under any bankruptcy or similar law for the
                protection of creditors or have such petition filed or proceeding
                commenced against it; (iii) otherwise become bankrupt or insolvent
                (however evidenced); (iv) be unable to pay its debts as they fall
                due; or (v) have a receiver, provisional liquidator, conservator,
                custodian, trustee or other similar official appointed with respect to
                it or substantially all of its assets, then the other Party shall have the
                right to immediately terminate this Agreement.

Id. ¶ 7(b) (emphasis added). As explained below, EOG had no basis to rely on Section 7(b).

    B. The Parties’ Performance

        18.     For Contract Years 1 and 2, both parties fulfilled their contractual duties, with EOG

purchasing and Hi-Crush selling and delivering the Annual Minimum of sand. However, at times

EOG resisted complying with its purchase obligations, necessitating significant effort on Hi-

Crush’s part to ensure EOG’s performance. In hindsight, EOG’s reluctance to meet its contractual

obligations were but a preview of EOG’s conduct to come.

        19.     To date and for Contract Year 3, EOG has purchased only                      tons of sand,

less than half the Annual Minimum. Accordingly, for EOG to meet its required Annual Minimum,

it must purchase             tons of sand by December 31, 2020, or pay $                      in shortfall

damages if it fails to order more sand within the next 41 days. See Sand Purchase Agreement

¶¶ 1(a), 1h(i), 2(b). Additionally, the Sand Purchase Agreement remains in full force and effect



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for                     years, through the end of      , obligating EOG to purchase              tons

of sand annually. Id. ¶ 3(a).

         20.    Hi-Crush has always honored its duties under the Sand Purchase Agreement by

satisfying all of EOG’s frac sand orders. And Hi-Crush remains ready, willing, and able to

continue that performance. In light of recent events, the same cannot be said of EOG.

      C. Hi-Crush Inc.’s 10-Q

         21.    On June 25, 2020, Hi-Crush Inc., the parent of Hi-Crush, filed a quarterly 10-Q

(attached, in relevant part, hereto as Exhibit 2), wherein it provided a narrative of the enterprise’s

financial situation and expectations for the future. In particular, it described Hi-Crush Inc.’s

decrease in borrowing base and its associated default under the ABL Credit Facility “due to its

failure to be in compliance with the springing fixed charge coverage ratio financial covenant

under the ABL Credit Facility.” 10-Q at p.11 (emphasis added). In the 10-Q, Hi-Crush Inc. noted

that the default “could result in the acceleration of all obligations and termination of all

commitments thereunder at the option of the lenders” and potentially other Senior Note

indebtedness becoming accelerated and due. Id. (emphasis added). Moreover, it recognized that

there was not sufficient liquidity to pay the $450,000,000 principal amount of the Senior Notes (as

described therein), “should they be accelerated” in the future. Id. (emphasis added).

         22.    However, those debts were not accelerated. Instead, Hi-Crush Inc. and certain of

its affiliates entered into a forbearance agreement and amendment to the ABL Credit Facility,

whereby the lenders agreed to forebear from exercising default-related rights and remedies. Id. In

turn, by avoiding acceleration, this forbearance agreement made it easier for Hi-Crush to continue

paying debts as they became due in the ordinary course of business.




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        23.     Hi-Crush Inc. also made disclosures in the 10-Q concerning the engagement of

advisors and negotiations relating to a potential prearranged bankruptcy filing, and that

“[r]egardless of whether the terms and conditions of a prearranged filing can be agreed upon with

the debt holders, the Company expects to file for protection from its creditors under the United

States Bankruptcy Code.” Id. at p.12. Hi-Crush Inc. did not disclose a specific date for a

bankruptcy filing or indicate that such a filing was imminent.

    D. EOG’s Improper Termination

        24.     EOG took note of Hi-Crush’s affiliate’s 10-Q filing, albeit opportunistically. Two

days after the filing and by letter dated June 27, 2020, EOG sent Hi-Crush a purported notice of

immediate termination of the Sand Purchase Agreement (“Termination Notice”) (attached hereto

as Exhibit 3). In its letter, EOG attempted to base its termination on Section 7(b)(iii) and 7(b)(iv)

of the Sand Purchase Agreement and “Hi-Crush’s insolvency and inability to pay its debts as they

fall due.” See Termination Notice.

        25.     For context, Section 7(b)(iii) and (iv) of the Sand Purchase Agreement provides:

“In the event either Party shall . . . (iii) otherwise become bankrupt or insolvent (however

evidenced); [or] (iv) be unable to pay its debts as they fall due . . ., then the other Party shall have

the right to immediately terminate this Agreement.” Sand Purchase Agreement ¶¶ 7(b)(iii), (iv).

        26.     As supposed evidence that Hi-Crush was insolvent or unable to pay its debts, EOG

referenced the 10-Q’s disclosure that the company was in default under its ABL Credit Facility;

had entered into a forbearance agreement; “absent an extension of the Forbearance Agreement,”

would be in default under its Senior Notes “should they be accelerated;” and had “plans to file for

bankruptcy.” See Termination Notice (emphasis added).




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        27.       However, EOG’s Termination Notice notably omits the portion of the disclosure

wherein the default under the ABL Credit Facility was described as a covenant default, rather than

a payment default. Unlike a payment default, a covenant default does not equate to an inability or

failure to pay.

        28.       Likewise, EOG failed to point to any debts that Hi-Crush had failed to pay or was

unable to pay when due. This is likely because there were not any debts due or coming due in the

near future that Hi-Crush was not able to pay, especially in light of the referenced forbearance

agreement that forestalled acceleration of the Senior Notes.           Instead, EOG cherry-picked

projections from the 10-Q of hypothetical risks – “absent an extension of the Forbearance

Agreement,” “should they be accelerated” – rather than the actual course of events. Termination

Notice (emphasis added).

        29.       Further, the 10-Q provided no basis for EOG to contend that Hi-Crush Inc. and its

affiliates, including Hi-Crush, were insolvent. To the contrary, the consolidated balance sheet in

the 10-Q showed that assets exceeded liabilities by over $250,000,000 during the period referenced

therein. 10-Q at p.4.

        30.       The 10-Q disclosure relied upon by EOG as the only basis for its termination of the

Sand Purchase Agreement is not evidence of insolvency of or inability to pay debts as they fall

due by either Hi-Crush Inc. (the entity who filed the 10-Q) or Hi-Crush (the entity who is the

counterparty to the Sand Purchase Agreement).

        31.       Given the baseless nature of EOG’s Termination Notice, Hi-Crush disputed it, and

rightly so. On July 1, 2020, Hi-Crush sent a letter responding to EOG’s Termination Notice

(“Response Letter”) (attached hereto as Exhibit 4) identifying it for what it was – ineffective.

“EOG’s letter purports, albeit ineffectively, to terminate the Sand Purchase Agreement. . . . The



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Agreement is still in effect, and Hi-Crush expects EOG to honor its obligations under the

Agreement.” Response Letter.

         32.      However, following that Response Letter, EOG has shown no intent to honor its

contractual obligations under the Sand Purchase Agreement. EOG has not ordered one ounce of

frac sand, has stated that it will not pay any shortfall damages at the end of 2020, and has objected

to Hi-Crush’s assumption of the agreement. Despite this, Hi-Crush remains ready, willing, and

able to perform.

    E. Hi-Crush’s Bankruptcy

         33.      On July 12, 2020, the Debtor filed voluntary petitions in this Court commencing

cases for relief under chapter 11 of Title 11 of the United States Code.

         34.      On September 4, 2020, Hi-Crush included the Sand Purchase Agreement on the

Notice of Cure Amounts (ECF No. 344) for agreements it intended to assume pursuant to the Joint

Plan of Reorganization for Hi-Crush Inc. and its Affiliate Debtors Under Chapter 11 of the

Bankruptcy Code (the “Plan”). Two weeks later, EOG filed an Objection to Assumption of the

Sand Purchase Agreement (“Cure Objection”) (ECF No. 386), contending that the agreement had

been terminated pre-petition and could not be assumed.

         35.      On September 23, 2020, the Court entered an order (“Confirmation Order”)

confirming the Plan. Paragraph 62 of the Confirmation Order preserved the Parties’ dispute

regarding whether Hi-Crush could assume the Sand Purchase Agreement.4 Thus, instead of

litigating the validity of EOG’s Notice of Termination during the pendency of Hi-Crush’s

bankruptcy proceedings, Hi-Crush and EOG agreed to delay resolution until after Plan


4
  See, e.g., Confirmation Order (ECF No. 420) ⁋ 62 (“Notwithstanding any other provision in this Confirmation Order
or the Plan to the contrary, nothing in this Confirmation Order or the Plan . . . shall eliminate, alter or impair any of
the objections of EOG Resources Inc. . . . including, but not limited to EOG’s position that the Sand Purchase
Agreement . . . was properly terminated prior to the Petition Date.”).

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confirmation. Hi-Crush now commences this action to address this unresolved issue by seeking a

declaratory judgment that Hi-Crush properly assumed the Sand Purchase Agreement and that it

remains in full force and effect.

    F. EOG Should Not Be Able to Avoid its Contractual Obligations

        36.     Upon information and belief, EOG’s end goal in attempting to terminate the Sand

Purchase Agreement was to avoid its fixed, long-term obligations to Hi-Crush so that EOG would

be free to purchase lower quantities of frac sand on more favorable terms (given the current,

depressed market conditions for frac sand). In order to accomplish this objective, EOG seized

upon and contorted a public disclosure in order to manufacture the claim that Hi-Crush was

insolvent and unable to pay its debt as they came due. However, EOG’s opportunistic attempts

should not be rewarded, and certainly should not leave Hi-Crush penalized for disclosing a

covenant default and forbearance agreement to the market.

        37.     Simply put, EOG had no legitimate basis for its contention that Hi-Crush was

insolvent or unable to pay its debts as they became due at the time it sent the Termination Notice.

These contentions were false and, as a result, EOG’s attempt to terminate the Parties’ agreement

was invalid. Hi-Crush has been damaged by EOG’s refusal to perform its obligations under the

Sand Purchase Agreement, both for this year and in the four years to come. Accordingly, Hi-Crush

asserts the following claims for relief to remedy the harm EOG has inflicted upon Hi-Crush.

                                    CLAIMS FOR RELIEF

                                            COUNT I

                    (Declaratory Judgment that EOG’s Purported Termination
                                 Under Section 7(b) Was Invalid)

        38.     Hi-Crush realleges and incorporates by reference as though fully set forth herein

the allegations contained in each of the preceding paragraphs.


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        39.     Under 28 U.S.C. § 2201, “any court of the United States, upon the filing of an

appropriate pleading, may declare the rights and other legal relations of any interested party

seeking such declaration, whether or not further relief is or could be sought. Any such declaration

shall have the force and effect of a final judgment or decree and shall be reviewable as such.”

        40.     An actual, justiciable controversy exists between Hi-Crush and EOG regarding

(i) the validity of EOG’s alleged termination of the Sand Purchase Agreement under Section 7(b),

and (ii) whether Hi-Crush can assume the Sand Purchase Agreement under 11 U.S.C. § 365

notwithstanding EOG’s Termination Notice. This dispute is evidenced by EOG’s Termination

Notice and Hi-Crush’s Response Letter, each of which asserted contradictory positions as to the

effect of EOG’s Termination Notice, and EOG’s Cure Objection.

        41.     EOG had no right to terminate the Sand Purchase Agreement under Section 7(b),

and any attempts to do so were invalid. EOG contends that, at the time of the Termination Notice,

Hi-Crush was insolvent or unable to pay its debts as they fell due. See Termination Notice. EOG

pointed to Hi-Crush Inc.’s 10-Q filing as the sole support for these brazen claims. But, as described

herein, EOG’s reliance on the 10-Q was misplaced, and it shows that EOG used the 10-Q as a mere

pretext for termination. Indeed, EOG’s assertions regarding Hi-Crush’s insolvency and inability

to pay its debts were baseless assumptions, which were contrary to the then-existing facts and

circumstances. In turn, EOG has no support in law for its attempts at terminating the Sand

Purchase Agreement under Section 7(b), and Hi-Crush had the right to (and did) assume this

agreement.

        42.     Accordingly, Hi-Crush requests that the Court enter a declaratory judgment holding

that:

        (i)     EOG’s attempted termination of the Sand Purchase Agreement under Section 7(b)
                was invalid;


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        (ii)      The Sand Purchase Agreement remains in full force and effect for the remainder of
                  its Primary Term, as defined therein;

        (iii)     Hi-Crush had the right to assume the Sand Purchase Agreement under 11 U.S.C. §
                  365 and did properly assume it during the course of the bankruptcy case;

        (iv)      The cure amount for Hi-Crush’s assumption of the Sand Purchase Agreement is $0;
                  and

        (v)       Hi-Crush is entitled to its reasonable attorneys’ fees and costs as provided for under
                  Section 37.009 of the Texas Civil Practice and Remedies Code, and reasonable
                  attorneys’ fees and costs as provided for by Section 17 of the Sand Purchase
                  Agreement.
                                                 COUNT II

                          (Breach of Contract – Sand Purchase Agreement)

        43.       Hi-Crush realleges and incorporates by reference as though fully set forth herein

the allegations contained in each of the preceding paragraphs.

        44.       The Sand Purchase Agreement was a valid, binding, and enforceable agreement

between Hi-Crush and EOG.

        45.       Hi-Crush performed all of its obligations under the Sand Purchase Agreement by

selling and delivering sand to EOG, which EOG accepted.

        46.       EOG breached the Sand Purchase Agreement by refusing to order the Annual

Minimum of sand for Contract Year 3 or make requisite shortfall payments. See Sand Purchase

Agreement, ¶¶ 1(a), 2(b).

        47.       EOG also breached the Sand Purchase Agreement by purportedly terminating it

under Section 7(b) without a valid basis to do so.

        48.       EOG’s breaches injured Hi-Crush, which has sustained damages of at least

$               for Contract Year 3, plus millions of additional damages that will accrue if the




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agreement is not assumed and EOG is not compelled to perform throughout the remaining term of

the agreement.

        49.      As pleaded herein, Hi-Crush has performed its obligations under the Sand Purchase

Agreement and remains ready, willing, and able to continue to perform under the Sand Purchase

Agreement. Accordingly, Hi-Crush seeks specific performance of the Sand Purchase Agreement

by EOG for the remainder of the Primary Term, as defined therein.

        50.      Alternatively, and should EOG not be ordered to specifically perform the remainder

of the Primary Term of the Sand Purchase Agreement, then EOG’s breach will result in damages

of at least $            .

        51.      Because of EOG’s breach, Hi-Crush seeks and is entitled to its reasonable

attorneys’ fees and costs as provided for under Chapter 38 of the Texas Civil Practice and

Remedies Code, and reasonable attorneys’ fees and costs as provided for by Section 17 of the Sand

Purchase Agreement.

                                  CONDITIONS PRECEDENT

        52.      All conditions precedent to filing this suit have occurred or have been performed.

                                     PRAYER FOR RELIEF

        WHEREFORE, the Debtor respectfully demands judgment against EOG and requests the

following relief:

              a. Entry of a declaratory judgment that EOG’s attempted termination of the Sand
                 Purchase Agreement under Section 7(b) was invalid;

              b. Entry of a declaratory judgment that the Sand Purchase Agreement remains in full
                 force and effect for the remainder of its Primary Term, as defined therein;

              c. Entry of a declaratory judgment that Hi-Crush had the right to assume the Sand
                 Purchase Agreement under 11 U.S.C. § 365 and did properly assume it during the
                 course of the bankruptcy case;



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            d. Entry of a declaratory judgment that the cure amount for Hi-Crush’s assumption of
               the Sand Purchase Agreement is $0;

            e. Entry of a declaratory judgment that Hi-Crush is entitled to its reasonable attorneys’
               fees and costs as provided for under Section 37.009 of the Texas Civil Practice and
               Remedies Code, and attorneys’ fees and costs as provided for by Section 17 of the
               Sand Purchase Agreement;

            f. An award of damages in the amount of at least $        for EOG’s breach of its
               obligation to buy sand from Hi-Crush and failure to pay shortfall damages for
               Contract Year 3;

            g. Specific performance requiring EOG to perform under the Sand Purchase
               Agreement for the remainder of the Primary Term, as defined therein; in the
               alternative, an award of additional damages in the amount of at least $
               for EOG’s refusal to buy its Annual Minimum and failure to pay shortfall damages
               owed for the remaining term;

            h. Pre- and post-judgment interest, costs of court, and reasonable attorneys’ fees
               incurred in prosecuting this adversary proceeding; and

            i. All such other relief as the Court may find just and proper, including but not limited
               to, equitable relief under 11 U.S.C. § 105.



Dated: November 20, 2020               Respectfully submitted,

                                       /s/ Joseph W. Buoni
                                       Joseph W. Buoni (TX Bar No. 24072009)
                                       Timothy A. (“Tad”) Davidson II (TX Bar No. 24012503)
                                       Ashley L. Harper (TX Bar No. 24065272)
                                       Ashley S. Lewis (TX Bar No. 24079415)
                                       HUNTON ANDREWS KURTH LLP
                                       600 Travis Street, Suite 4200
                                       Houston, Texas 77002
                                       Tel: (713) 220-4200
                                       Fax: (713) 220-4285
                                       Email: josephbuoni@huntonak.com
                                                taddavidson@huntonak.com
                                                ashleyharper@huntonak.com
                                                ashleylewis@huntonak.com


                                       Counsel for Plaintiff Hi-Crush Permian Sand, LLC



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                                 CERTIFICATE OF SERVICE

        I certify that on November 20, 2020, a true and correct copy of the foregoing document

was served (i) by the Electronic Case Filing System for the United States Bankruptcy Court for

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                                               /s/ Joseph W. Buoni
                                               Joseph W. Buoni




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